Case: 1:21-cv-06546 Document #: 70-13 Filed: 11/08/22 Page 1 of 5 PageID #:959




                                   EXHIBIT 8
        Case: 1:21-cv-06546 Document #: 70-13 Filed: 11/08/22 Page 2 of 5 PageID #:960




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                                                                                         Exhibit 8 - Page 1 of 4
                  Case: 1:21-cv-06546 Document #: 70-13 Filed: 11/08/22 Page 3 of 5 PageID #:961




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                                                                                    Exhibit 8 - Page 2 of 4
                  Case: 1:21-cv-06546 Document #: 70-13 Filed: 11/08/22 Page 4 of 5 PageID #:962




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                                                                                    Exhibit 8 - Page 3 of 4
                  Case: 1:21-cv-06546 Document #: 70-13 Filed: 11/08/22 Page 5 of 5 PageID #:963




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                                                                                    Exhibit 8 - Page 4 of 4
